EXHIBIT 12
4/11/25, 4:07 PM                    Research Computing part of $5.3M NSF award for Advanced Cyberinfrastructure | FAS Research Computing

                                          Monthly Maintenance - Monday April 7th 9am - 1pm

                                                             All systems operational




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                   NSF award for Advanced
                   Cyberinfrastructure
                   CAMBRIDGE, M.A. – The National Science Foundation has awarded a consortium
                   of six universities a $5.3 million grant to support a national network of Advanced
                   Cyberinfrastructure Research and Education Facilitators (ACI-REFs). Harvard
                   University’s FAS Research Computing group is one of the collaborating
                   institutions. The project, called Advanced Cyberinfrastructure - Research and
                   Educational Facilitation: Campus-based Computational Research Support
                   (http://www.aciref.org/), will broaden the impact of advanced computing
                   resources at campuses across the country.

                   “This consortium and the addition of ACI-REFs are a core component of Harvard's
                   next generation research computing strategy and will enable further academic
                   excellence at both local and national levels,” said James Cuff, Assistant Dean for
                   Research Computing at Harvard University and co-principal investigator.

                   ACI-REFs will work together to adopt models and strategies that leverage the
                   expertise and experiences of its members to maximize the impact of investment
                   in research computing. In addition to Harvard, the project’s partners include
                   Clemson University, the University of Hawai’i, the University of Southern
                   California, the University of Utah, and the University of Wisconsin.

                   The project will be based on a condominium model of computing. Condominium
                   computing provides users with shares of large cluster-based computer resources.
                   Instead of users buying and maintaining their own personal clusters, users buy
                   computing nodes, which are committed to a larger shared cluster, managed and
                   supported by their IT organizations. Users then have access to their nodes plus
                   the idle nodes of other condominium members. The project will expand this
                   model by focusing on support for the steadily increasing “long tail” of ACI users—
                   researchers who belong to disciplines that have not traditionally required access
                   to ACI resources but who recognize that their research requires compute power
                   beyond their desktop machines.
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                   “With universitiesMonthly
                                       facing aMaintenance
                                                growing data  tsunami
                                                           - Monday   in virtually
                                                                    April 7th 9am -all
                                                                                    1pmdisciplines, we've
                   realized that now is the time to build a more cloud-like research infrastructure
                   and support model across campuses to help faculty and students meet their data
                   challenges,” said Jim Bottum, the Chief Information Officer at Clemson University
                   and principal investigator on the project. “We appreciate NSF’s investment in our
                   collaborative effort to prototype a new model to further enable faculty and
                   students to accomplish their research goals in this challenging environment.”

                   Each partner university will have dedicated ACI-REFs who will work directly with
                   faculty, students, and local campus IT to advance scientific discovery through a
                   national network of Advanced Cyberinfrastructure. ACI-REFs will extend the reach
                   and impact of campus and national research computing infrastructure with the
                   goal of fostering research projects that span multiple campuses. The project will
                   thereby create a community that shares knowledge, experience, and expertise
                   and bridges research communities to facilitate the formation of extended local
                   and national collaborations.

                   “Harvard’s condominium computing model has been effective at providing our
                   faculty and researchers with a scalable environment capable of meeting a vast
                   array of computational needs. We know the model can be successful and we are
                   excited to be a part of this project,” said Cuff. “By building a national ACI-REF
                   network that engages other national initiatives such as XSEDE and the Open
                   Science Grid, we hope to transform how universities and researchers access, use,
                   and manage computation.”

                   The project team is led by Clemson University CIO Jim Bottum who is the principal
                   investigator on the grant, Barr von Oehsen of Clemson University will serve as the
                   science and outreach lead, Jim Pepin of Clemson University will act as the
                   technical integration lead and Simon Appleford and Dustin Atkins will also serve
                   on the project team at Clemson University.

                   In addition to the project team, the project’s steering committee includes Glenn
                   Ricart, Chief Technology Officer of the US Ignite Project, Greg Monaco from the
                   Great Plains Network, and John Towns, the principal investigator of the NSF-
                   funded XSEDE program. Miron Livny of the University of Wisconsin and principal
                   investigator of the NSF-funded Open Science Grid will also serve on the project’s
                   steering committee as well as the Chief Scientist for the project.




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                   Co-principal investigators from the partner
                                     Monthly Maintenance       universities
                                                          - Monday            are Gwen
                                                                   April 7th 9am  - 1pm Jacobs of the
                   University of Hawai’i, James Cuff of Harvard University, Maureen Dougherty of the
                   University of Southern California, Steven Corbato of the University of Utah, and
                   Paul Wilson of the University of Wisconsin.

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